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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

Lutwione A. Robinson (20221103091),               )
                                                  )
                       Plaintiff,                 )
                                                  )           Case No. 23 C 0599
               v.                                 )
                                                  )           Hon. John J. Tharp, Jr.
Tom J. Dart, et al.,                              )
                                                  )
                       Defendants.                )

                                             ORDER

        By order dated February 2, 2023, the Court directed Plaintiff to pay the $402 filing fee [5].
The Court warned Plaintiff that failure to comply with the order by March 31, 2023, would result
in summary dismissal of this case. That order was returned undeliverable because Plaintiff was no
longer at the address he previously reported and the order was resent to Plaintiff at another address
previously provided by Plaintiff. [6] Plaintiff has not responded to the Court’s order.
Accordingly, this case is dismissed without prejudice for Plaintiff’s failure to comply with the
Court’s order of February 2, 2023. Any pending motions are denied as moot. The Clerk is directed
to mail a copy of this order to Plaintiff’s last known address - 26 N Mayfield Chicago, IL 60644.



Date: 4/14/2023                               /s/ John J. Tharp, Jr.
                                              John J. Tharp, Jr.
                                              United States District Judge
